Case 1:19-cv-01564-CCR Document 26

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

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THE UNITED STATES OF AMERICA ex rel.,
NONA WATSON,

Plaintiffs,
V.

CITY OF BUFFALO
Defendant.

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19-CV-1564

FILED UNDER SEAL

 

UNITED STATES' NOTICE OF ELECTION TO
DECLINE TO INTERVENE

Pursuant to the False Claims Act, 31 U.S.C. § 3730(b)(4)(B), the United States

hereby notifies the Court of its decision not to intervene in the above-captioned qui tam

action.

Although the United States declines to intervene, we respectfully refer the Court to 31

U.S.C. § 3730(b)(I), which allows the Relator to maintain the action in the name of

the United States, providing, however, that the "action may be dismissed only if the

court and the Attorney General give written consent to the dismissal and their reasons

for consenting." Id. Therefore, the United States requests that, should either the Relator

or the Defendant propose that this action be dismissed, settled, or otherwise discontinued,

this Court solicit the written consent of the United States before ruling or granting its

approval.

Furthermore, pursuant to 31 U.S.C. § 3730(c)(3), the United States requests that

any and all pleadings, motions, papers, and discovery filed in this action be served upon

the United States. The United States further requests that all orders issued by the Court

be sent
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to counsel for the United States. The United States reserves its right to order any
deposition transcripts, to intervene in this action for good cause at a later date, and to
seek the dismissal of the Relator's action or claim. The United States also requests
that it be served with all notices of appeal.

Finally, the United States requests that the Relator's Complaint, this Notice of
Election to Decline Intervention, and the Court's Order be unsealed and served upon
the Defendant. The United States requests that all other papers on file in this action
remain under seal because in discussing the content and extent of the United States'
investigation, such papers are provided by law to the Court alone for the sole purpose
of evaluating whether the seal and time for making an election to intervene should be

extended.

A proposed order accompanies this Notice of Election to Decline Intervention.

Respectfully submitted,

TRINI E. ROSS.
Lo STATES AYTORNEY \

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